
709 S.E.2d 924 (2011)
Mary B. WEBB
v.
George Travers WEBB, III.
No. 475P09-2.
Supreme Court of North Carolina.
June 15, 2011.
K. Edward Greene, Raleigh, for Webb, George Travers, III.
Daniel Bullard, Gibonsville, for Webb, Mary B.

ORDER
Upon consideration of the petition filed on the 21st of December 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 15th of June 2011."
